                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF OHIO
                          WESTERN DIVISION

N.B., a Minor, by her Parents, Natural : Case No. 1:20-cv-699
Guardians, and Next Friends DWAN :
BRAY and AARON BRAY,                   :
                                       :
                    Plaintiffs,        : District Judge Timothy S. Black
                                       :
   v.                                  :
                                       :
BON SECOURS MERCY HEALTH, :
INC., et al.,                          :
                                       :
                    Defendants.        :

     UNITED STATES OF AMRERICA’S RESPONSE IN OPPOSITION
        TO SUPPLEMENTAL MEMORANDUM IN SUPPORT OF
                     MOTION TO REMAND

      This litigation arises out of alleged medical malpractice by obstetrician Dr.

Timothy Thress during an evening hospital visit at Mercy Health Anderson Hospital

Family Birthing Center (“Mercy Anderson”) by Dwan Bray on November 11, 2015. At

the time, Ms. Bray was 37 3/7 weeks pregnant. Although Ms. Bray had decided on

home birth, she was also being followed by Dr. Barbara Patridge of Brown County

Women’s Health, who had directed Bray to present to Mercy Anderson that evening

after Bray had called her with some concerns. Dr. Patridge had admitting privileges

at Mercy Anderson, and thus Ms. Bray’s admitting and attending doctor for the

evening was Dr. Patridge even though she never came into the hospital to see Ms.

Bray that evening.




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      I.     Facts


      The evening of November 11, 2015, Dr. Thress was on-call supervising patients

in labor and delivery and covering any obstetrical admissions from the emergency

department. He was employed at the time of Bray’s visit by HealthSource of Ohio,

Inc. (“HealthSource”), a federally qualified health center based in Milford, Ohio. In

2015, HealthSource had applied for and been deemed as an employee of the Public

Health Service under the Federally Supported Health Centers Assistance Act

(“FSHCAA”), 42 U.S.C. § 233(g). Deeming Notice, ECF No. 24-3. As such,

HealthSource and its employees’ medical malpractice coverage was provided under

the Federal Tort Claims Act.


      Under Dr. Thress’s contract with HealthSource, he was required to obtain and

maintain hospital privileges and participate in hospital and/or emergency room on-

call rotations for hospital care in accordance with on-call agreements executed by

HealthSource with hospitals. Employment Agreement 3, 7, ECF No. 32-5; Patton

Decl., ¶ 3, attached hereto as Exh. 1. Dr. Thress obtained and maintained hospital

privileges at Mercy Anderson. Memo. from Heather Nichols, ECF No. 27-4; Patton

Decl., ¶¶ 2 - 3. In 2015, Mercy Anderson required as a condition of obtaining hospital

privileges that members of its medical staff provide in-hospital call. Mercy Health

Medical Staff Bylaws 14-15 (July 22, 2014), attached hereto as Exh. 2; Mercy Health

Medical Staff Rules and Regulations 3 (Oct. 21, 2015); attached hereto as Exh. 3;

Patton Decl., ¶ 4.




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       In     accordance   with   Mercy   Anderson’s   medical   staff   requirements,

HealthSource executed a Professional Services Agreement with Mercy Anderson to

provide overnight and weekend obstetrical on-call service. Prof’l Serv. Agreement 1-

2, ECF No. 32-2; Patton Decl., ¶ 5. Under the Professional Services Agreement,

Mercy Anderson paid a flat hourly rate to HealthSource for the physician’s time and

Mercy Anderson retained all rights to bill the patients directly. Prof’l Serv.

Agreement at 4, 15; Patton Decl, ¶ 5. HealthSource was responsible for submitting

timesheets to Mercy Anderson, which would in turn issue payment to HealthSource.

Prof’l Serv. Agreement at 4, Patton Decl., ¶ 6. HealthSource, in turn, kept 20% of the

billing and issued 80% as compensation to the physician. Patton Depo. 32:7-23 (Dec.

21, 2021), ECF No. 32-1; Patton Decl., ¶6. HealthSource was responsible for

withholding taxes, insurance, and other benefits from this compensation. Patton

Decl., ¶ 7.


       II. Legal Standards


       Under FSHCAA, 42 U.S.C. § 233(g), a federally qualified health center and its

employees may be deemed by Secretary of the Department of Health and Human

Services (“HHS”) as employees of the Public Health Service (“PHS”) with regard to

allegations of personal injury, including death, resulting from the performance of

medical, surgical, dental, or related functions, i.e. medical malpractice. FSHCAA

further provides that the exclusive remedy for allegations of medical malpractice by

such deemed entities and their employees is suit under the Federal Tort Claims Act

(“FTCA”) against the United States. Id. Such deeming applies to services provided

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to all patients of the federally qualified health center as well as to some individuals

who are not patients of the federally qualified health center. Id. at (g)(1)(B). In

particular, services to non-patients will be covered when the services are required to

be provided to such individuals under an employment contract between the federally

qualified health center and the individual provider. Id. at (g)(1)(C)(iii).


      Upon certification by the Attorney General or his designee that a defendant

was acting within the scope of employment at the time the incident took place, a

matter shall be removed from state court to federal district court. 42 U.S.C. § 233(c).

The Attorney General’s certification is conclusive to establish subject-matter

jurisdiction for removal. Once removed, a district court may review on motion to

remand the certification made by the Attorney General. Id. To rebut the certification,

a party seeking to do so bears the burden to prove by a preponderance of the evidence

that the deemed employee was not acting within the scope of their employment.

Singleton v. United States, 277 F.3d 864 (6th Cir. 2002), overruled on other grounds

by Hawver v. United States, 808 F.3d 693 (6th Cir. 2015).


       When reviewing a challenge to the scope certification for a specific employee,

courts look to state law regarding the scope of employment to address whether the

actions taken by the employee occurred within or exceeded the scope of employment

with the health center. Dolan v. United States, 514 F.3d 587, 593-94 (6th Cir. 2008).

In Ohio, “conduct is within the course and scope of employment if (1) it is of the kind

the employee is employed to perform, (2) it occurs substantially within the authorized

time and space limits, and (3) it is actuated, at least in part, by a purpose to serve the

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master.” Byrd v. Smith, 904 N.E.2d 962, 972 (Oh. Ct. Com. Pl. 2007), aff’d 2008-Ohio-

3597, ¶ 34 (Oh. Ct. App. 2008) (citing RESTATEMENT (SECOND)           OF   AGENCY § 228

(1957)).


      III. Argument


      It is undisputed that HealthSource was a deemed employee of the PHS during

2015 under 42 U.S.C. § 233(g). It is undisputed that Dr. Thress was a physician

employed by HealthSource to provide obstetric care and that HealthSource’s contract

with Dr. Thress required him to obtain hospital privileges and participate in hospital

call. It is undisputed that HealthSource had entered into a contract with Mercy

Anderson to provide overnight and weekend call coverage due to Mercy Anderson’s

lack of a residency program and Mercy Anderson’s requirement that its medical staff

provide on-call services. And, it is undisputed that Dr. Thress was working on-call at

Mercy Anderson when he treated Dwan Bray on November 11, 2015. Dr. Thress,

working as an obstetrician, in accordance with a on-call schedule established by

HealthSource and Mercy Anderson, and in accordance with his contractual

responsibilities to HealthSource and to HealthSource’s benefit, was working within

the scope of his employment of HealthSource under Ohio law. Consequently, in

accordance with 42 U.S.C. § 233(g), Dr. Thress, as an employee of HealthSource, is

likewise deemed to be an employee of the PHS with respect to allegations of medical

negligence regarding Ms. Bray.


      In an effort to obscure the import of these facts, Plaintiffs cite selectively to 42

C.F.R. Part 6 implementing 42 U.S.C. § 233(g) as well as a general argument that Dr.

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Thress’s services to some of the hospital’s patients were not grant supported, which

Plaintiffs elide with acting within the course and scope of employment with the PHS. 1

Unsurprisingly, Plaintiff cites no statutory basis that the source of funding for

particular care is relevant in making a determination regarding whether care

provided by a federally qualified health center and its employees is eligible for FTCA

coverage. That is because there is no statutory basis for making the distinction which

Plaintiffs seek to make.


       Citing to 42 C.F.R. § 6.6(d), Plaintiffs argue that “only acts and omissions

related to the grant-supported activity of entities are covered.” Pl.’s Supplemental

Memo. 8. Plaintiff then goes on to argue that because the words “house officer” do not

appear in HealthSource’s grant application, Dr. Thress’s on-call obstetrical coverage

at Mercy Anderson on nights and weekends must not be covered by the grant.

However, as provided within HealthSource’s grant application, services to be

provided include obstetrical care, encompassing prenatal care, intrapartum care

(labor & delivery), and postpartum care. Program Review Form 4, ECF No. 27-1. This

is precisely the care received by Dwan Bray when she reported to Mercy Anderson

and was seen by Dr. Thress the evening of November 11, 2015. Necessarily, some

prenatal, post-natal, and all intrapartum care takes place at the hospitals where

HealthSource doctors hold privileges. And necessarily, during overnight periods at


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 HealthSource’s and Dr. Thress’s deeming as PHS employees is a “legal fiction” to bring this action
under the FTCA. Lossiah v. United States, 2019 WL 1553667, *2 (N.D.N.C). The relevant question in
this matter is whether Dr. Thress acted within the course and scope of his employment with
HealthSource for the purpose of his FTCA deeming. 42 U.S.C. § 233(g)(1)(A)(“an entity . . . and any
officer, governing board member, or employee of such an entity … shall be deemed to be an employee
of the Public Health Service …”)(underlined emphasis supplied).

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the hospital, a physician holding privileges on-call would see any patients who

presented to the hospital, whether patients of HealthSource, those of other providers,

or those without outside OB/GYNs.


      Similarly, Plaintiff cites that Dr. Thress’s salary paid for by the federal grant

could not exceed a rate in excess of federal executive level II of the federal executive

pay scale, $180,500. Pl.’s Supplemental Memo. 12. This is true; to the extent federal

grant funds could be used to pay for Dr. Thress’s salary they were limited to this level.

But as identified by both HealthSource’s grant application and the deposition of

Kimberly Patton, providers could be paid over this rate at market rates using other

revenue by the health center, including the heath center’s billing of patients’ private

insurance, Medicare, Medicaid, or billing related to provision of on-call services to a

local hospital. Program Review Form 1 (stating the average salary for obstetricians

was $200,000); Patton Depo. 17:4–11, 19:1–12. Plaintiffs cite no statutory basis nor

any citation in the regulations that prevent HealthSource from paying market rates

that would allow them to retain qualified physicians on their staff.


      To the contrary, in Agyin v. Razmzan, the Second Circuit considered a matter

in which the United States had declined to certify a physician was acting within the

course and scope of employment and the defendant physician then removed the

matter to federal court and moved to substitute the United States in his place. 986

F.3d 168, 171 (2d Cir. 2019). In Agyin, the deemed physician had billed privately for

his services, in contravention of the FTCA Health Center Policy Manual, and thus

the United States had argued that the doctor acted outside the scope of his

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employment with the health center. Id. The court noted that the written employment

contract between the deemed physician and the health center expressly permitted

the doctor to bill patients at the hospital directly, in part so that the doctor could be

paid at market rates. Id. at 185. Thus, the court concluded that the deemed physician

had acted within the course and scope of his employment agreement. Id. at 186. This

conclusion was unchanged by 42 C.F.R. § 6.6 or the FTCA Manual, as the conclusive

test for FTCA coverage was whether under New York law the physician had acted

within the course and scope of his employment with the health center. Id. at 186-87.


      Finally, Plaintiffs acknowledge that 42 C.F.R. § 6.6(c) provides that covered

acts and omissions may be provided to individuals who are not patients of a covered

entity when the Secretary determines that 1) the provision of the services to such

individuals benefits patients of the entity and general populations that could be

served by the entity; 2) the provision of the services to such individuals facilitates the

provision of services to patients of the entity; or 3) such services are otherwise

required to be provided to such individuals under an employment contract or similar

arrangement between the entity and the covered individual. Plaintiffs then argue

that none of the examples in § 6.6(e) come close to describing HealthSource’s

agreement with Mercy Anderson, citing to Thomas v. Phoebe Putney Health System,

Inc., 2019 WL 6039976 (M.D. Ga. 2019).


      In Thomas, the United States had certified the deemed health center and its

employee physician and removed the matter to federal court. The plaintiffs filed a

motion to remand arguing that the employee physician was not acting related to the

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federal grant activity and that the treatment of the minor plaintiff did not fit any of

the exceptions related to treatment of non-patients. As a basis, plaintiffs noted that

the deemed community health center had entered into a contract to provide 24/7

pediatric hospitalist coverage to Phoebe Putney Hospital. The doctor employed by the

health center at issue in the litigation worked exclusively in the hospital seeing

patients, and did not see any patients at the deemed health center’s clinics. Upon

learning this, the United States rescinded its certification and Phoebe Putney moved

the court to substitute the United States in its place. The district court declined to do

so, noting that 42 C.F.R. §§ 6.6(d)(3) and § 6.6(e) “only consider FTCA coverage for

treatment of non-patients where the deemed employee provides ‘periodic’ or ‘after-

hours’ coverage for a hospital or other provider.” Id. at *5.


      Here, HealthSource’s contract with Mercy Anderson provides evening and

weekend call for the hospital where several of its employed obstetricians supervise

the care of admitted HealthSource patients as well as patients of other providers or

those within the general population of the community that could be served by

HealthSource who come in for after-hours treatment. Dr. Thress worked primarily in

the HealthSource clinics when he was not managing patients at the hospital on

occasional overnight shifts that were a condition of his hospital privileges. Moreover,

neither HHS nor the Attorney General has sought to rescind the decision to certify

that Dr. Thress was acting within the course and scope of employment when he

treated Dwan Bray in 2015. Thus, Thomas lends no support to Plaintiffs’ arguments.




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      Many of Plaintiffs’ arguments were also addressed in Smith v. Harbison, 2020

WL 6216758 (M.D. Ga. 2020). There the Attorney General had declined to certify that

the deemed physician was acting within the course and scope of his employment when

he delivered an infant for a non-health center patient at a hospital where he was on-

call in accordance with a cross coverage agreement. The deemed physician removed

the matter to federal court and moved to substitute the United States in his place.

Plaintiff countered by moving to remand arguing that the hospital was not listed as

a “covered location” in the grant application, that there was not enough evidence that

the doctor was required to maintain admitting privileges or be on-call in accordance

with his employment contract, and that there was no evidence that call coverage was

reasonably necessary to enable the health center to serve the community.


      The Smith court denied plaintiff’s motion to remand and granted the deemed

physician’s motion to substitute. Id. at *5. First, the court noted that the grant

application reasonably notified HHS that the deemed physician provided some

services at the hospital including deliveries. Second, the court observed that the

deemed physician’s contract with the health center required the physician to obtain

privileges at the hospital and to participate in a cross-coverage call arrangement.

Last, the court observed that providing services at the hospital was reasonably

necessary to enable the health center to carry out its grant-funded activities in

providing for the poor in its area of operations.




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      As previously noted, in this case the grant application for HealthSource also

cites that in-hospital obstetric services would be offered by HealthSource

obstetricians. Likewise, the contract between Dr. Thress and HealthSource clearly

delineated that Dr. Thress was required to obtain hospital privileges and participate

in any hospital and/or emergency room on-call rotations or cross-coverage

arrangements made by HealthSource. Mercy Anderson required that physicians

holding privileges there participate in hospital call. And finally, the fact that Mercy

Anderson lacked overnight obstetrical coverage impacted both HealthSource patients

and non-patients alike. This formed an adequate basis for HHS to conclude that the

provision of services benefitted both patients of HealthSource who needed after hours

care as well as the general population that could be served by HealthSource

community-wide, which is what led the Attorney General to certify Dr. Thress’s scope

of employment in this matter.




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      IV. Conclusion


      Consequently, as Plaintiffs have not carried their burden to prove by a

preponderance of the evidence that Dr. Thress acted outside the course and scope of

his employment with HealthSource when he treated Dwan Bray at Mercy Anderson,

the Court should deny Plaintiffs’ Motion to Remand this action back to state court.

                                       Respectfully Submitted,

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